                                          Case 5:18-cv-07677-NC Document 437 Filed 02/07/22 Page 1 of 1     FILED
                                                                                                             Feb 07 2022

                                                                                                            Mark B. Busby
                                  1                                                                   CLERK, U.S. DISTRICT COURT
                                                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                  2                                                                            SAN JOSE

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                                  7                                 UNITED STATES DISTRICT COURT
                                  8                           NORTHERN DISTRICT OF CALIFORNIA
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                                         ASHOK BABU, and others                            Case No. 18-cv-07677-NC
                                  11
                                                      Plaintiffs,                          JUDGMENT
Northern District of California




                                  12
 United States District Court




                                                v.
                                  13
                                         GREGORY J. AHERN, and others,
                                  14
                                                      Defendants.
                                  15
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                                  17         In accordance with the Court’s February 7, 2022, order finally approving the
                                  18   parties’ Consent Decree, at ECF 436, judgment is entered in favor of Plaintiffs Ashok
                                  19   Babu, Robert Bell, Ibrahim Keegan-Hornesby, Demarea Johnosn, Brandon Jones,
                                  20   Stephanie Navarro, Roberto Serrano, and Alexander Washington and against Defendants
                                  21   Gregory J. Ahern, County of Alameda, and Carol Burton.
                                  22         The Clerk is ordered to terminate Case No. 18-cv-07677-NC.
                                  23
                                  24         IT IS SO ORDERED.
                                  25
                                  26   Dated: February 7, 2022                  _____________________________________
                                                                                      NATHANAEL M. COUSINS
                                  27                                                  United States Magistrate Judge
                                  28
